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4    Telephone: (916) 554-2918
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8                    IN THE UNITED STATES DISTRICT COURT FOR THE
9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )
                                         ) Case No. 2:10-CR-00347 MCE
12                  Plaintiff,           )
                                         ) STIPULATION AND
13                                       ) ORDER CONTINUING STATUS
            v.                           ) CONFERENCE
14                                       )
     JEREMY GACHAGO,                     )
15                                       )
                    Defendant.           )
16                                       )
17
18          IT IS HEREBY STIPULATED by and between Plaintiff United
19   States of America, by and through Assistant United States
20   Attorney Todd D. Leras, and Attorney Michael Chastaine on behalf
21   of Defendant Jeremy Gachago, that the status conference scheduled
22   for November 8, 2012, be continued to December 6, 2012, at 9:00
23   a.m.
24          The parties are continuing to work toward resolution of the
25   case.       A proposed plea agreement has been provided to defense
26   counsel.       Defense counsel has proposed a potential alternative
27   resolution and needs additional time to present information to
28   the government in support of the counter proposal.

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1    To accomplish this process the parties are continuing with
2    investigation in this case, which involves wiretap interceptions.
3    The parties therefore request to continue the status conference
4    to December 6, 2012.
5         For the above-stated reasons, the parties stipulate that
6    time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
7    T4 (reasonable time to prepare and continuity of counsel).
8    Defense counsel has authorized Assistant U.S. Attorney Todd D.
9    Leras to sign this stipulation on his behalf.
10
11   DATED: November 7, 2012           By: /s/ Todd D. Leras
                                            TODD D. LERAS
12                                          Assistant U.S. Attorney
13
14   DATED: November 7, 2012           By: /s/ Todd D. Leras for
                                            MICHAEL CHASTAINE
15                                          Attorney for Defendant JEREMY
                                            GACHAGO
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1                                      ORDER
2    IT IS HEREBY ORDERED:
3         1.   A status conference in this matter, currently scheduled
4    for November 8, 2012, is hereby vacated and continued to December
5    6, 2012, at 9:00 a.m. in Courtroom 7;
6         2.   Based on the stipulation of the parties, the Court
7    finds that the ends of justice outweigh the best interest of the
8    public and Defendant in a speedy trial.       Accordingly, time under
9    the Speedy Trial Act shall be excluded under 18 U.S.C. §
10   3161(h)(7)(B)(iv) and Local Code T4 (reasonable time to prepare)
11   up to and including December 6, 2012.
12        IT IS SO ORDERED
13
     Dated: November 14, 2012
14
15                                     _____________________________
16                                     MORRISON C. ENGLAND, JR.
                                       UNITED STATES DISTRICT JUDGE
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